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                           UNITED STATES DISTRICT COURT
                                    DISTRICT OF MAINE

    DAVID E. MURRAY,                               )
                                                   )
                               PLAINTIFF           )
                                                   )
    V.                                             )       CIVIL NO. 2:15-CV-484-DBH
                                                   )
    WAL-MART STORES, INC.,           ET AL.,       )
                                                   )
                               DEFENDANTS          )

           ORDER AFFIRMING MAGISTRATE JUDGE’S MEMORANDUM
           DECISION AND ORDER ON MOTION TO AMEND COMPLAINT

         On December 4, 2018, the United States Magistrate Judge entered his

Memorandum Decision and Order denying the plaintiff’s motion to amend

complaint.       The plaintiff filed an appeal of the Magistrate Judge’s ruling on

December 18, 2018. I have reviewed and considered the Magistrate Judge’s

Order, and I concur with the Magistrate Judge’s Order because it is neither

clearly erroneous nor contrary to law, and I determine that no further proceeding

is necessary.

         The plaintiff’s objection is OVERRULED and the Magistrate Judge’s Order is

AFFIRMED because the Order is neither clearly erroneous nor contrary to law.

See Fed. R. Civ. P. 72(a).1

         SO ORDERED.

         DATED THIS 10TH DAY OF JANUARY, 2019

                                                       /S/D. BROCK HORNBY
                                                       D. BROCK HORNBY
                                                       UNITED STATES DISTRICT JUDGE

1   I would reach the same conclusion following a de novo review under Rule 72(b).
